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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

BROIDY CAPITAL
MANAGEMENT LLC, et al.,

Plaintiffs,
y No. 19-cv-0150 (DLF)

NICHOLAS D. MUZIN, et al.,

Defendants.

 

 

ORDER

For the reasons stated in the accompanying Memorandum Opinion, it is

ORDERED that the defendants’ motions to dismiss, Dkts. 40, 41, 42, are DENIED as to
Counts IV (Computer Fraud and Abuse Act), V (Defend Trade Secrets Act), VI (California
Uniform Trade Secrets Act), VII (receipt and possession of stolen property), X (intrusion upon
seclusion), and XIII (civil conspiracy). It is further

ORDERED that the defendants’ motions to dismiss, Dkts. 40, 41, 42, are GRANTED as
to Counts I (RICO), II (RICO conspiracy), III (Stored Communications Act), VIII (California
Comprehensive Computer Data Access and Fraud Act), [X (public disclosure of private facts),

XI (conversion), and XII (tortious interference).

(Lobe L Fuizunle

DABNHBY L. FRIEDRICH
March 31, 2020 United States District Judge
